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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


ROBERT LEE McKEE                                               CIVIL ACTION

versus                                                         NO. 10-344

N. BURL CAIN, WARDEN                                           SECTION: "I" (3)


                           REPORT AND RECOMMENDATION

              This matter was referred to this United States Magistrate Judge for the purpose of

conducting a hearing, including an evidentiary hearing, if necessary, and submission of proposed

findings of fact and recommendations for disposition pursuant to 28 U.S.C. § 636(b)(1)(B) and (C)

and, as applicable, Rule 8(b) of the Rules Governing Section 2254 Cases in the United States

District Courts. Upon review of the record, the Court has determined that this matter can be

disposed of without an evidentiary hearing. See 28 U.S.C. § 2254(e)(2). Therefore, for all of the

following reasons, IT IS RECOMMENDED that the petition be DISMISSED WITH

PREJUDICE.

              Petitioner, Robert Lee McKee, is a state prisoner incarcerated at the Louisiana State

Penitentiary, Angola, Louisiana. On February 18, 2005, he was convicted of aggravated battery,

attempted manslaughter, attempted second degree kidnapping, armed robbery, disarming a peace
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officer, and aggravated escape.1 On February 23, 2005, he was sentenced to the following terms of

imprisonment: seven years on the aggravated battery conviction; twenty-five years without benefit

of probation, parole, or suspension of sentence on the attempted manslaughter conviction; twenty

years without benefit of probation, parole, or suspension of sentence on the attempted second degree

kidnapping conviction; fifty-five years without benefit of probation, parole, or suspension of

sentence on the armed robbery conviction; five years on the conviction for disarming a peace officer;

and ten years on the aggravated escape conviction. It was ordered that the first five of those

sentences run concurrently and that the sixth sentence run consecutively.2 On June 9, 2006, the

Louisiana First Circuit Court of Appeal affirmed those convictions and sentences.3 The Louisiana

Supreme Court then denied petitioner’s related writ application on March 16, 2007.4

                 On April 8, 2008, petitioner filed with the state district court an application for post-

conviction relief.5 That application was denied on September 24, 2008.6 Petitioner’s related writ




   1
    State Rec., Vol. VII of VIII, transcript of February 18, 2005, pp. 176-77; State Rec., Vol. I of
VIII, minute entry dated February 18, 2005; State Rec., Vol. II of VIII, jury verdict forms.
  2
    State Rec., Vol. VII of VIII, transcript of February 23, 2005; State Rec., Vol. I of VIII, minute
entry dated February 23, 2005.
       3
      State v. McKee, No. 2005 KA 2515 (La. App. 1st Cir. June 9, 2006) (unpublished);
Supplemental State Rec., Vol. I of I.
  4
    State v. McKee, 952 So.2d 695 (La. 2007) (No. 2006-KO-1920); Supplemental State Rec., Vol.
I of I.
   5
       Supplemental State Rec., Vol. I of I.
   6
       Supplemental State Rec., Vol. I of I, Order dated September 24, 2008.

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applications were then likewise denied by the Louisiana First Circuit Court of Appeal on February

2, 2009,7 and by the Louisiana Supreme Court on January 8, 2010.8

                    On February 1, 2010, petitioner filed the instant federal application for habeas corpus

relief.9 In support of his application, he asserts the following claims:

                    1.      The trial court wrongly denied petitioner’s motion to suppress

                            his confession and wrongly admitted that confession into

                            evidence;

                    2.      Petitioner received ineffective assistance of counsel; and

                    3.      Petitioner was denied his right to a speedy trial.

Petitioner has also filed a supplemental memorandum in support of his claims.10

                    The state concedes that petitioner’s federal application is timely filed and that his

claims are exhausted.11

                                             Standard of Review

                    The Antiterrorism and Effective Death Penalty Act of 1996 (“AEDPA”)

comprehensively overhauled federal habeas corpus legislation, including 28 U.S.C. § 2254.


  7
   State v. McKee, No. 2008 KW 2255 (La. App. 1st Cir. Feb. 2, 2009); Supplemental State Rec.,
Vol. I of I.
  8
   State ex rel. McKee v. State, 24 So.3d 865 (La. 2010) (No. 2009-KH-0656); Supplemental State
Rec., Vol. I of I.
      9
          Rec. Doc. 1.
      10
           Rec. Doc. 15.
      11
           Rec. Doc. 11, p. 4.

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Amended subsections 2254(d)(1) and (2) contain revised standards of review for questions of law,

questions of fact, and mixed questions of law and fact. The amendments “modified a federal habeas

court’s role in reviewing state prisoner applications in order to prevent federal habeas ‘retrials’ and

to ensure that state-court convictions are given effect to the extent possible under law.” Bell v.

Cone, 535 U.S. 685, 693 (2002). Provided that the state court adjudicated the claim on the merits,

pure questions of law and mixed questions of law and fact are reviewed under § 2254(d)(1) and pure

questions of fact are reviewed under § 2254(d)(2). Hill v. Johnson, 210 F.3d 481, 485 (5th Cir.

2000).

                 As to questions of law and mixed questions of law and fact, a federal court must defer

to the state court’s decision unless it “was contrary to, or involved an unreasonable application of,

clearly established Federal law, as determined by the Supreme Court of the United States.” 28

U.S.C. § 2254(d)(1). Courts have held that the “‘contrary to’ and ‘unreasonable application’ clauses

[of § 2254(d)(1)] have independent meaning.” Bell, 535 U.S. at 694.

                 Regarding the “contrary to” clause, the United States Fifth Circuit Court of Appeals

has explained:

                 A state court decision is contrary to clearly established precedent if
                 the state court applies a rule that contradicts the governing law set
                 forth in the [United States] Supreme Court’s cases. A state-court
                 decision will also be contrary to clearly established precedent if the
                 state court confronts a set of facts that are materially
                 indistinguishable from a decision of the [United States] Supreme
                 Court and nevertheless arrives at a result different from [United
                 States] Supreme Court precedent.

Wooten v. Thaler, 598 F.3d 215, 218 (5th Cir. 2010) (internal quotation marks, ellipses, brackets,

and footnotes omitted).

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                 Regarding the “unreasonable application” clause, the United States Supreme Court

has explained:

                 [A] state-court decision can involve an “unreasonable application” of
                 this Court’s clearly established precedent in two ways. First, a
                 state-court decision involves an unreasonable application of this
                 Court’s precedent if the state court identifies the correct governing
                 legal rule from this Courts cases but unreasonably applies it to the
                 facts of the particular state prisoner’s case. Second, a state-court
                 decision also involves an unreasonable application of this Court’s
                 precedent if the state court either unreasonably extends a legal
                 principle from our precedent to a new context where it should not
                 apply or unreasonably refuses to extend that principle to a new
                 context where it should apply.

Williams v. Taylor, 529 U.S. 362, 407 (2000). The Supreme Court has noted that the focus of this

inquiry “is on whether the state court’s application of clearly established federal law is objectively

unreasonable, and we stressed in Williams that an unreasonable application is different from an

incorrect one.” Bell, 535 U.S. at 694.

                 As to questions of fact, factual findings are presumed to be correct and a federal court

will give deference to the state court’s decision unless it “was based on an unreasonable

determination of the facts in light of the evidence presented in the State court proceeding.” 28

U.S.C. § 2254(d)(2); see also 28 U.S.C. § 2254(e)(1) (“In a proceeding instituted by an application

for a writ of habeas corpus by a person in custody pursuant to the judgment of a State court, a

determination of a factual issue made by a State court shall be presumed to be correct. The applicant

shall have the burden of rebutting the presumption of correctness by clear and convincing

evidence.”).




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                                               Facts

               On direct appeal, the Louisiana First Circuit Court of Appeal summarized the facts

of this case as follows:

                       On December 29, 2001, defendant was an inmate at the
               Washington Parish Jail. Early that day, defendant complained that he
               was not feeling well and his stomach hurt. Deputy Howard E.
               Sanderson, of the Washington Parish Sheriff’s Office, eventually
               took defendant to Bogalusa Charity Hospital. Several hours passed
               between the time defendant was initially triaged by a nurse and the
               time he was treated by a doctor.
                       According to Deputy Sanderson, he took defendant to the
               restroom in the hospital lobby before they returned to jail after a
               doctor saw defendant. Deputy Sanderson released defendant’s hands
               from the detention belt around his waist so he could use the restroom.
               Deputy Sanderson waited outside of the restroom for a few minutes
               before he checked on defendant. Deputy Sanderson went into the
               restroom and found defendant pulling up his pants. Deputy
               Sanderson told defendant that he would also use the restroom while
               defendant got dressed.
                       Without warning, defendant struck Deputy Sanderson with a
               metal object, otherwise known as a “shank,” that defendant had
               smuggled from the jail. Defendant struck Deputy Sanderson several
               times in the head, causing wounds that would take twenty-eight
               stitches to close. Defendant, who was 6'3" and weighed about 220
               pounds, quickly overpowered Deputy Sanderson, who was 5'4" and
               weighed 142 pounds.
                       Hospital employees could hear a struggle taking place in the
               restroom. Ron Ballay, the registered nurse who had assisted in
               treating defendant in the emergency room, was summoned to the
               lobby restroom after receiving a call that something was happening.
               Ballay had to forcefully push the door of the restroom just to get it
               open about eight inches. He saw blood everywhere. He saw the
               deputy with blood on his face pushed against the wall. Deputy
               Sanderson instructed Ballay that defendant was trying to escape and
               that he should get help.
                       Defendant was able to get Deputy Sanderson’s service
               weapon and moments later, he exited the restroom and left the
               hospital using the front entrance. While in the restroom, defendant


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    had shed his orange prison clothing and was wearing a t-shirt and
    pants.
            At that same time, Officer Stacey Economu of the Bogalusa
    Police Department had stopped to drop off a Christmas gift to a
    friend at the L & C Lounge directly across the street from the
    hospital. Officer Economu had not yet reported for her shift, but she
    was wearing her police uniform and was in her personal vehicle, a
    Ford van. Officer Economu heard the radio dispatch regarding a
    fight between a prisoner and a deputy at the Charity Hospital and got
    into her van to drive across the street.
            Before she could move her van, Officer Economu observed
    a black man running towards her. Not realizing that this man was the
    defendant who had just escaped from custody, Officer Economu got
    out of her van and expected the man to inform her of what happened
    at the hospital. Ignoring her order to stop running, defendant kept
    running straight towards Office Economu and pointed the weapon
    directly at her head. Defendant then grabbed Officer Economu from
    behind, pointed the gun at her head and began grabbing for her
    service weapon.
            Officer Economu struggled to keep defendant from taking her
    weapon. During this struggle, Sergeant Tommie Sorrell and Officer
    Mike Garic, both of the Bogulasa Police Department, arrived on the
    scene in their separate units. Sergeant Sorrell observed defendant
    tying to force Officer Economu into her van. Defendant was able to
    take Officer Economu’s weapon from her. According to Officer
    Economu, when she felt the weapon come loose, she rolled away
    from defendant and heard two to three gunshots.
            Sergeant Sorrell testified that she had exited her unit and was
    armed with a shotgun. When Officer Economu got away from
    defendant, defendant jumped into Officer Economu’s van and began
    driving straight at Sergeant Sorrell. Sergeant Sorrell fired her
    shotgun at the windshield of the van, but defendant ducked and
    sharply steered the van away from Sergeant Sorrell’s unit.
            Sergeant Sorrell then told Officer Economu to get into the
    back of her unit and they joined in the pursuit of defendant. At least
    four police units pursued defendant eastbound on Louisiana Avenue,
    Highway 10 through Bogalusa. During the chase, defendant forced
    several cars off the road and drove very erratically as he tried to
    evade the police. Eventually, defendant drove into Mississippi,
    where he ran off the roadway into a ditch. The police observed
    defendant get out of the vehicle and run towards the roadway where
    he approached another vehicle and began beating on the roof of the

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                   vehicle. The police apprehended defendant. The Pearl River County
                   Police in Mississippi took defendant into custody.
                           Defendant testified at trial. He claimed that since his
                   incarceration in the Washington Parish Jail on June 25, 2001, he had
                   been denied proper medication for his high blood pressure condition
                   and depression. Defendant further testified that he was in fear for his
                   life because of beatings by other inmates. Defendant testified that he
                   was only trying to escape what he viewed as wrongful treatment in
                   the Washington Parish Jail by escaping and returning to Mississippi.12

                                                Confession

                   Petitioner first claims that the trial court erroneously denied his motion to suppress

his confession and wrongly admitted that confession into evidence. It is unclear to what confession

petitioner is referring. There are, however, two possibilities.

                   First, the record reflects that Detectives Tom Anderson and Denver Penton

interviewed petitioner at the Stone County Jail in Mississippi in December of 2001. The detectives

thought that the interview was being videotaped by the jail’s equipment; however, the interview was

not properly recorded and no usable videotape of the interview exists. A hearing was held on

February 15, 2005, concerning whether petitioner’s statements during that interview, as they were

memorialized in Anderson’s notes, should be suppressed. At that hearing, defense counsel’s motion

to suppress was denied.13 However, the state ultimately elected not to introduce the statements at

trial.




    12
    State v. McKee, No. 2005 KA 2515, pp. 3-5 (La. App. 1st Cir. June 9, 2006) (unpublished);
Supplemental State Rec., Vol. I of I.
    13
         Rec. Doc. III of VIII, transcript of February 15, 2005, pp. 6-18.

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                  Second, also in December of 2001, petitioner sent Major Gardner, a Mississippi

corrections official, a letter and signed statement in which petitioner stated in pertinent part:

                  I, Robert Lee McKee, having fully understood my rights and hereby
                  waive them do swear that the statement I am about to make is the
                  truth. On or about the 30th day of December I Robert Lee McKee
                  did willfully, unlawfully and feloneously attempt to carjack a vehicle
                  in Pearl River County, Mississippi. I also willingly, unlawfully and
                  feloneously fired three shots from a stolen handgun at a white truck
                  I had chose as my first avenue of escape from the pursuing officers
                  were on their way. Out of frustration and on the run I fired my
                  weapon at what I thought was my last hope escaping, I mean last
                  hope going, but I stopped when I saw new hope approaching. I did
                  point my previous fired pistol at the driver of the second vehicle and
                  ordered them to unlock the door and surrender the vehicle, but when
                  he wouldn’t I couldn’t find it in my heart to harm him so I
                  surrendered my weapon at the Bogalusa Department – to the
                  Bogalusa Police Officer who made the arrest in Mississippi. I,
                  Robert L. McKee, do swear that this statement is the truth and no
                  threats or promises of coercion of any kind was made to me. This
                  statement is voluntarily.14

When confronted with the documents during cross-examination, petitioner admitted that he wrote

them of his own free will.15 However, he stated that the confession was untrue, explaining that it

was a ruse he concocted in an attempt to have himself prosecuted and convicted in Mississippi as

a way to avoid being returned to Louisiana.16 He testified: “I was willing to do anything I had to

do to plead guilty in Mississippi on any charges that I could to keep from coming back to the same

situation.”17


   14
        State Rec., Vol. VI of VIII, transcript of February 18, 2005, pp. 86-87.
   15
        State Rec., Vol. VI of VIII, transcript of February 18, 2005, p. 86.
   16
        State Rec., Vol. VI of VIII, transcript of February 18, 2005, pp. 87-88.
   17
        State Rec., Vol. VI of VIII, transcript of February 18, 2005, p. 88.

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                  Regardless of whether petitioner’s claim is based on the oral statement he gave to

Detectives Tom Anderson and Denver Penton or the written confession he gave to Major Gardner,

the claim does not warrant relief for the following reasons.

                  To the extent that the claim is based on the oral statement given to Anderson and

Penton, the claim clearly has no merit because that statement was never introduced at trial. See

Chavez v. Martinez, 538 U.S. 760, 767 (2003) (plurality opinion) (“Statements compelled by police

interrogations of course may not be used against a defendant at trial, but it is not until their use in

a criminal case that a violation of the Self-Incrimination Clause occurs. ... Martinez was never made

to be a ‘witness’ against himself in violation of the Fifth Amendment’s Self-Incrimination Clause

because his statements were never admitted as testimony against him in a criminal case.” (citation

omitted)); United States v. Karoly, Crim. Action No. 08-592, 2009 WL 2004657, at *3 (E.D. Pa.

July 1, 2009).

                  To the extent that petitioner’s claim is based on the documents he sent to Major

Gardner, the claim fares no better. Petitioner alleges that his written confession was “unlawfully

obtained, it was not given freely or voluntarily, and it was given without Miranda warnings and

without advice from an [a]ttorney with regards to the rights of the accused.”18 Petitioner presents

no evidence, other than his own bald allegations, in support of these contentions. Moreover, the

evidence of record is clearly to the contrary. As noted, petitioner expressly noted in his statement

that (1) he understood and waived his rights, (2) there were no threats, promises, or coercion in

connection with the statement, and (3) the statement was voluntary. Moreover, as also noted, he



   18
        Rec. Doc. 1, p. 5.

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testified under oath at trial that his statement was voluntarily made as part of a plan he concocted

on his own in an attempt to avoid return to Louisiana. In summary, there is simply no colorable

evidence that the confession contained in the materials sent to Gardner was in any way compelled

or even solicited by law enforcement officials.           Therefore, petitioner’s right against self-

incrimination was not implicated and could not serve as a basis for excluding the documents from

admission into evidence. See Stroud v. United States, 251 U.S. 15, 21-22 (1919); Bridges v. Cason,

198 Fed App’x 491, 495-96 (6th Cir. 2006); United States v. Tyler, 281 F.3d 84, 94-96 (3rd Cir.

2002); see also United States v. Morado, 454 F.2d 167, 173 (5th Cir. 1972) (“Some element of

official compulsion remains the sine qua non of a successful invocation of the right to Miranda’s

protection.”).

                                   Ineffective Assistance of Counsel

                 Petitioner also claims that he received ineffective assistance of counsel. In the post-

conviction proceedings, the state district court rejected that claim, holding:

                 Under Strickland v. Washington, 466 U.S. 668, 104 S.Ct. 2052, 80
                 L.Ed.2d 674 (1984), defendant must show that his counsel’s
                 performance was deficient, and that the deficiency was such that it
                 deprived the defendant of a fair trial. The claims asserted by McKee
                 are that his counsel failed to investigate the case, interview witnesses,
                 and call witnesses to testify. He also claims that he was coerced by
                 his counsel to testify, and failed to object to remarks made by the
                 prosecutor regarding the Mississippi crime. A review of the record
                 does not support any of these allegations. No further proof is offered,
                 nor any facts to make a showing that his appeal would in any way be
                 successful. Petitioner has not met his burden of proof, and thus all
                 remaining claims are dismissed.19



   19
        Supplemental State Rec., Vol. I of I, Order dated September 24, 2008, p. 2.

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Without assigning additional reasons, the Louisiana First Circuit Court of Appeal and the Louisiana

Supreme Court then likewise denied petitioner’s claims.20

                Because a claim of ineffective assistance of counsel is a mixed question of law and

fact, this Court must defer to the state court decision rejecting petitioner’s claims unless that decision

was “contrary to, or involved an unreasonable application of, clearly established Federal law, as

determined by the Supreme Court of the United States.” 28 U.S.C. § 2254(d)(1); Moore v. Cockrell,

313 F.3d 880, 881 (5th Cir. 2002). For the following reasons, the Court finds that neither of those

conditions is met in the instant case.

                As correctly noted by the state court, the United States Supreme Court established

a two-prong test for evaluating claims of ineffective assistance of counsel. A petitioner seeking

relief must demonstrate that counsel’s performance was deficient and that the deficient performance

prejudiced his defense. Strickland v. Washington, 466 U.S. 668, 697 (1984). A petitioner bears the

burden of proof on such a claim and “must demonstrate, by a preponderance of the evidence, that

his counsel was ineffective.” Jernigan v. Collins, 980 F.2d 292, 296 (5th Cir. 1993); see also Clark

v. Johnson, 227 F.3d 273, 284 (5th Cir. 2000). If a court finds that a petitioner has made an

insufficient showing as to either of the two prongs of inquiry, i.e. deficient performance or actual

prejudice, it may dispose of the ineffective assistance claim without addressing the other prong.

Strickland, 466 U.S. at 697.




   20
     State v. McKee, No. 2008 KW 2255 (La. App. 1st Cir. Feb. 2, 2009); State ex rel. McKee v.
State, 24 So.3d 865 (La. 2010) (No. 2009-KH-0656); Supplemental State Rec., Vol. I of I.

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                To prevail on the deficiency prong of the Strickland test, a petitioner must

demonstrate that counsel’s conduct fails to meet the constitutional minimum guaranteed by the Sixth

Amendment. See Styron v. Johnson, 262 F.3d 438, 450 (5th Cir. 2001). “Counsel’s performance

is deficient if it falls below an objective standard of reasonableness.” Little v. Johnson, 162 F.3d

855, 860 (5th Cir. 1998).        Analysis of counsel’s performance must take into account the

reasonableness of counsel’s actions in light of all the circumstances. See Strickland, 466 U.S. at

689. “[I]t is necessary to ‘judge ... counsel’s challenged conduct on the facts of the particular case,

viewed as of the time of counsel’s conduct.’” Lockhart v. Fretwell, 506 U.S. 364, 371 (1993)

(quoting Strickland, 466 U.S. at 690). A petitioner must overcome a strong presumption that the

conduct of his counsel falls within a wide range of reasonable representation. See Crockett v.

McCotter, 796 F.2d 787, 791 (5th Cir. 1986); Mattheson v. King, 751 F.2d 1432, 1441 (5th Cir.

1985).

                In order to prove prejudice with respect to trial counsel, a petitioner “must show that

there is a reasonable probability that, but for counsel’s unprofessional errors, the result of the

proceeding would have been different.” Strickland, 466 U.S. at 694. In this context, a reasonable

probability is “a probability sufficient to undermine confidence in the outcome.” Id. In making a

determination as to whether prejudice occurred, courts must review the record to determine “the

relative role that the alleged trial errors played in the total context of [the] trial.” Crockett, 796 F.2d

at 793.

                In the instant case, petitioner first contends that his counsel was ineffective for failing

to adequately investigate the case. However, a petitioner must have factual support for such a claim


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and point to evidence in the record demonstrating that further investigation would in fact have

revealed additional information beneficial to the defense. See Moawad v. Johnson, 143 F.3d 942,

948 (5th Cir. 1998); see also Brown v. Dretke, 419 F.3d 365, 375 (5th Cir. 2005); Wilson v. Cain,

Civ. Action No. 06-890, 2009 WL 2163124, at *22 (E.D. La. July 16, 2009); Davis v. Cain, Civ.

Action No. 07-6389, 2008 WL 5191912, at *10 (E.D. La. Dec. 11, 2008). Here, petitioner points

to no such beneficial information evidence that would have been revealed through further

investigation. Accordingly, he has not demonstrated that he was prejudiced by the allegedly

inadequate investigation, and his claim therefore fails. See Thomas v. Cain, Civ. Action No. 09-

4425, 2009 WL 4799203, at *9 (E.D. La. Dec. 9, 2009).

                It is next argued that counsel was ineffective for failing to call witnesses to testify

on petitioner’s behalf. However, it is clear that “complaints of uncalled witnesses are not favored

in federal habeas corpus review because allegations of what the witness would have testified are

largely speculative.” Evans v. Cockrell, 285 F.3d 370, 377 (5th Cir. 2002). Therefore, to show the

prejudice required to support an ineffective assistance claim premised on the failure to call a witness,

a petitioner must produce evidence showing that the witness was available and would in fact have

testified at trial in a manner beneficial to the defense. See id. (a petitioner must bring forth evidence,

such as affidavits from the uncalled witness, in support of his claim); see also Bray v. Quarterman,

265 Fed. App’x 296, 298 (5th Cir. 2008); Anthony v. Cain, Civ. Action No. 07-3223, 2009 WL

3564827, at *8 (E.D. La. Oct. 29, 2009) (“This Court may not speculate as to how such witnesses

would have testified; rather, a petitioner must come forward with evidence, such as affidavits from

the uncalled witnesses, on that issue.”); Combs v. United States, Nos. 3:08-CV-0032 and 3:03-CR-


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0188, 2009 WL 2151844, at *10 (N.D. Tex. July 10, 2009) (“Unless the movant provides the court

with affidavits, or similar matter, from the alleged favorable witnesses suggesting what they would

have testified to, claims of ineffective assistance of counsel fail for lack of prejudice.”); Harris v.

Director, TDCJ-CID, No. 6:06cv490, 2009 WL 1421171, at *7 (E.D. Tex. May 20, 2009) (“Failure

to produce an affidavit (or similar evidentiary support) from the uncalled witness is fatal to the claim

of ineffective assistance.”); Daigle v. Travis, Civ. Action No. 07-9425, 2008 WL 3562458, at *10

(E.D. La. Aug. 12, 2008). Here, petitioner has not presented any evidence whatsoever to establish

that the potential witnesses were available and would have been willing to testify at trial in a manner

beneficial to the defense. Accordingly, he has not met his burden of proof with respect to his claim,

and the claim necessarily fails.

                 Petitioner next contends that he was compelled to testify by defense counsel. As

noted, petitioner bears the burden of proof in this proceeding, and, again, he has brought forth no

evidence whatsoever in support of his contention.           Moreover, in his state post-conviction

application, petitioner clearly stated that his counsel merely advised him to testify:

                 Attorney Hogue said that the Jury needed to hear my version of what
                 happened, and that he would protect me as best he could. An[d]
                 although petitioner seriously doubted the truth of this statement, his
                 decision to follow the advise [sic] of Mr. Hogue was based on the
                 testimony or lack thereof, by earlier witnesses.21

Accordingly, petitioner has not shown that he was compelled to testify by counsel.22


   21
        Supplemental State Rec., Vol. I of I, post-conviction application, p. 22.
   22
     Moreover, even if petitioner’s claim were broadly construed as a claim that his counsel erred
in advising him to testify, the claim would still fail. The decision of whether to advise a criminal
client to testify “is frequently one of the most difficult and vexatious decisions a trial attorney must

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                Petitioner also contends that counsel was ineffective for failing to adequately

investigate and challenge his confession. Again, it is not clear whether he is referring to the oral

statement he gave to Detectives Tom Anderson and Denver Penton or to the documents he sent

unsolicited to Major Gardner. However, the claim fails in either event. As noted, the statement

given to Anderson and Penton was not introduced at trial; therefore, petitioner suffered no prejudice

from his counsel’s actions or inactions with respect to that statement. To the extent that petitioner’s

claim is based on the documents he sent to Gardner, the confession contained therein did not violate

petitioner’s right against self-incrimination for the reasons previously explained. Accordingly, that

confession was admissible and, therefore, counsel did not perform deficiently and petitioner suffered

no prejudice.




make” and “[t]he examination of that decision with the visual acuity inherent in hindsight is grossly
inappropriate.” Winfrey v. Maggio, 664 F.2d 550, 552 (5th Cir. 1981); see also United States v.
Garcia, 762 F.2d 1222, 1226 (5th Cir. 1985) (“[T]he decision whether to put a Defendant on the
stand is a ‘judgment call’ which should not easily be condemned with the benefit of hindsight.”).
Further, such a matter is inherently one of trial strategy, and federal habeas courts are not to lightly
second-guess counsel’s decisions on matters of trial tactics; rather, courts are to employ a strong
presumption that counsel’s conduct falls within a wide range of reasonable assistance and, under the
circumstances, might be considered sound trial strategy. Strickland, 466 U.S. at 689; United States
v. Mullins, 315 F.3d 449, 453 (5th Cir. 2002); Coker v. Thaler, 670 F.Supp.2d 541, 553 (N.D. Tex.
2009) (“The decision whether to advise a defendant to testify is a tactical choice of trial strategy that
is usually not subject to review under Strickland.”); see also St. Aubin v. Quarterman, 470 F.3d
1096, 1102 (5th Cir. 2006) (“Strategic choices made after thorough investigation of law and facts
relevant to plausible options are virtually unchallengeable. Moreover, a conscious and informed
decision on trial tactics and strategy cannot be the basis of constitutionally ineffective assistance of
counsel unless it is so ill chosen that it permeates the entire trial with obvious unfairness.”). In the
instant case, the decision to advise petitioner to testify was not so manifestly wrong as to overcome
that presumption.

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                 In his supplemental memorandum,23 petitioner argues that his counsel should have

moved for a mistrial when the confession to Gardner was admitted into evidence because that

confession referred to other crimes committed in Mississippi. However, on direct appeal, the

Louisiana First Circuit Court of Appeal held that the evidence regarding the Mississippi crimes was

properly admitted at trial:

                 [Defendant] claims he was prejudiced by the State’s use of other
                 crimes evidence. The other crimes evidence at issue is the attempted
                 carjacking of a vehicle in Mississippi just prior to defendant’s
                 apprehension by the pursuing Bogalusa police.
                          Generally, courts may not admit evidence of other crimes to
                 show defendant is a man of bad character who has acted in
                 conformity with his bad character. However, under La. Code Evid.
                 art. 404(B)(1) evidence of other crimes, wrongs, or acts may be
                 introduced when it relates to conduct, formerly referred to as res
                 gestae, that “constitutes an integral part of the act or transaction that
                 is the subject of the present proceeding.” Res gestae events
                 constituting other crimes are deemed admissible because they are so
                 nearly connected to the charged offense that the State could not
                 accurately present its case without reference to them. A close
                 proximity in time and location is required between the charged
                 offense and the other crimes evidence to insure that the purpose
                 served by admission of other crimes evidence is not to depict the
                 defendant as a bad man, but rather to complete the story of the crime
                 on trial by proving its immediate context of happenings near in time
                 and place. State v. Taylor, 01-1638, p. 10 (La. 1/14/03), 838 So.2d
                 729, 741, cert. denied, 540 U.S. 1103, 124 S.Ct. 1036, 157 L.Ed.2d
                 886 (2004).
                          Integral act (res gestae) evidence incorporates a rule of
                 narrative completeness without which the State’s case would lose its
                 narrative momentum and cohesiveness, with power not only to
                 support conclusions but to sustain the willingness of jurors to draw
                 the inferences, whatever they may be, necessary to reach an honest
                 verdict. State v. Traylor, 01-1638 at p. 11, 838 So.2d at 741-42.



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        Rec. Doc. 15.

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                         In the present case, the entire chain of events leading to each
                 of the charged crimes was defendant’s escape from custody and what
                 actions he took to facilitate that escape. Without including the
                 attempted carjacking that occurred in Mississippi, the State’s case
                 would lose its narrative momentum because Bogalusa police officers
                 were the ones to ultimately apprehend defendant as a result of their
                 pursuit. Clearly, the attempted carjacking committed by defendant
                 as he attempted to elude capture by Bogalusa police was an
                 admissible other crime as part of the res gestae. Moreover, the
                 relationship between the six counts defendant was charged with and
                 the attempted carjacking in Mississippi is of such close connection in
                 time and location, we cannot say defendant was unfairly surprised by
                 lack of notice. See State v. Brewington, 601 So.2d 656, 657 (La.
                 1992) (per curiam).24

The Louisiana Supreme Court then likewise denied petitioner’s related writ application without

assigning additional reasons.25

                 For the foregoing reasons, it is evident that evidence regarding the Mississippi crimes

was properly admitted. Therefore, any motion for a mistrial based on the fact that the confession

referenced those crimes would have been meritless. Accordingly, petitioner cannot show that

counsel was deficient for failing to file such a motion or that any prejudice resulted. See, e.g.,

United States v. Gibson, 55 F.3d 173, 179 (5th Cir. 1995) (“Counsel is not required by the Sixth

Amendment to file meritless motions.”); see also United States v. Kimler, 167 F.3d 889, 893 (5th

Cir. 1999) (“An attorney’s failure to raise a meritless argument ... cannot form the basis of a

successful ineffective assistance of counsel claim because the result of the proceeding would not




   24
        State v. McKee, No. 2005 KA 2515, pp. 11-12; Supplemental State Rec., Vol. I of I.
  25
     State v. McKee, 952 So.2d 695 (La. 2007) (No. 2006-KO-1920); Supplemental State Rec., Vol.
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have been different had the attorney raised the issue.”); Sones v. Hargett, 61 F.3d 410, 415 n.5 (5th

Cir. 1995) (“Counsel cannot be deficient for failing to press a frivolous point.”).

               In his supplemental memorandum, petitioner also argues that his counsel was

ineffective for failing to file a motion to quash the bill of information for misjoinder of offenses

and/or a motion to sever the various counts. However, as noted below, it is evident that such

motions would likewise have been meritless.

               Regarding joinder of offenses, Louisiana law provides:

               Two or more offenses may be charged in the same indictment or
               information in a separate count for each offense if the offenses
               charged, whether felonies or misdemeanors, are of the same or
               similar character or are based on the same act or transaction or on
               two or more acts or transactions connected together or constituting
               parts of a common scheme or plan; provided that the offenses joined
               must be triable by the same mode of trial.

La.C.Cr.P. art. 493. The law further provides:

               Notwithstanding the provisions of Article 493, offenses in which
               punishment is necessarily confinement at hard labor may be charged
               in the same indictment or information with offenses in which the
               punishment may be confinement at hard labor, provided that the
               joined offenses are of the same or similar character or are based on
               the same act or transaction or on two or more acts or transactions
               connected together or constituting parts of a common scheme or plan.
               Cases so joined shall be tried by a jury composed of twelve jurors,
               ten of whom must concur to render a verdict.

La.C.Cr.P. art. 493.2.

               To the extent that petitioner is claiming that the various offenses in the instant case

were not sufficiently related to be joined, he is obviously wrong. The Louisiana Supreme Court has

noted that offenses which arise from the same “crime spree” are properly joined when they are


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“closely related in point of time and basically ar[i]se out of one continuing transaction.” State v.

Webb, 364 So.2d 984, 989 (La. 1978). That is clearly the case here, where the various offenses were

committed in continuous succession during a single escape attempt.

                 To the extent that petitioner is claiming that joinder was inappropriate because some

of the offenses were triable by a six-person jury while others required a twelve-person jury, that

claim also fails. When related offenses are not triable by the same mode of trial, joinder is still

permissible under article 493.2 as long as all charges are tried by a twelve-person jury. State v.

Woods, 4 So.3d 248, 252 (La. App. 5th Cir. 2009); State v. Young, 943 So.2d 1118, 1123 (La. App.

1st Cir. 2006). Petitioner was tried by a twelve-person jury.26

                 That said, even where offenses are properly joined, the defendant may still move to

have them severed. Regarding such severance, Louisiana law provides:

                 If it appears that a defendant or the state is prejudiced by a joinder of
                 offenses in an indictment or bill of information or by such joinder for
                 trial together, the court may order separate trials, grant a severance
                 of offenses, or provide whatever other relief justice requires.

La. C.Cr.P. art. 495.1. Nevertheless, the Louisiana Supreme Court has held that “the defendant has

a heavy burden of proof when he alleges prejudicial joinder.” State v. Washington, 386 So.2d 1368,

1371 (La. 1980). Moreover, severance is generally not warranted when, as here, “[a]ll offenses were

connected in a continuous series of events.” See, e.g., State v. Mills, 505 So.2d 933, 944 (La. App.

2nd Cir. 1987). Further, the benefits of severance are greatly diminished in such circumstances

because, as previously explained with respect to the Mississippi crimes, evidence of interrelated



   26
        See State Rec., Vol. I of VIII, minute entry dated February 14, 2005.

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crimes committed as part of a continuous criminal transaction are still admissible at trial. Id.; see

also State v. Carter, 412 So.2d 540, 543 (La. 1982); State v. Craddock, 435 So.2d 1110, 1116 (La.

App. 1st Cir. 1983). Therefore, even if the offenses had been severed in the instant case, evidence

of all of the offenses would still have been admissible under La. Code Evid. art. 404(B)(1) and the

res gestae doctrine. In light of these factors and the circumstances of the instant case, it is clear that

a motion to sever would have been denied.

                Based on the foregoing, a motion to quash the bill of information for misjoinder of

offenses and a motion to sever the various counts would have been meritless. As noted previously,

counsel is not ineffective for failing to file meritless motions.

                Lastly, the Court notes that petitioner argues that even if his contentions regarding

counsel’s ineffectiveness do not warrant relief when considered individually, relief is warranted

when they are considered cumulatively. Petitioner is incorrect. Where, as here, the individual

contentions are meritless, that result cannot be changed simply by asserting them collectively.

Pondexter v. Quarterman, 537 F.3d 511, 525 (5th Cir. 2008), cert. denied, 129 S.Ct. 1544 (2009);

United States v. Hall, 455 F.3d 508, 520 (5th Cir. 2006); Miller v. Johnson, 200 F.3d 274, 286 n.6

(5th Cir. 2000); Sholes v. Cain, Civ. Action No. 06-1831, 2008 WL 2346151, at *17 (E.D. La. June

6, 2008), aff’d, No. 08-30654, 2010 WL 1141590 (5th Cir. Mar. 25, 2010); Simms v. Cain, Civ.

Action No. 07-966, 2008 WL 624073, at *26 (E.D,. La. Mar. 8, 2008); Spicer v. Cain, Civ. Action

No. 07-3770, 2007 WL 4532221, at *10 (E.D. La. Dec. 19, 2007); Franklin v. Thompson, Civ.

Action No. 07-543, 2007 WL 3046642, at *13 (E.D. La. Oct. 17, 2007). As the United States Fifth




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Circuit Court of Appeals noted with respect to analogous claims of cumulative error: “Twenty times

zero equals zero.” Mullen v. Blackburn, 808 F.2d 1143, 1147 (5th Cir. 1987).27

               In summary, it is evident that the state court identified the proper standard, i.e. the

Strickland standard, and applied it in a reasonable manner. Therefore, petitioner has failed to

demonstrate that the state court’s decision was contrary to, or involved an unreasonable application

of, clearly established federal law, as determined by the Supreme Court of the United States.

Accordingly, applying the AEDPA’s deferential standard, this Court rejects the ineffective

assistance of counsel claims.

                                           Speedy Trial

               Lastly, petitioner claims that he was denied his right to a speedy trial. The Louisiana

First Circuit Court of Appeal denied that claim on direct appeal, holding:

               [D]efendant argues that the trial court denied his constitutional right
               to a speedy trial and denied him a hearing to prove the cause of the
               delay and the prejudice caused by that denial.
                       A review of the record reveals that defendant filed two
               separate pro se motions to quash based on speedy trial violations of
               La. Code Crim. P. art. 578(2).[FN]

                       [FN] La. Code Crim P. art. 578(2) provides that the
                       trial of non-capital felonies must be held within two
                       years from the date of institution of prosecution.
                       Institution of prosecution includes the filing of an
                       indictment, or the filing of a bill of information, or


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      Moreover, the Court notes that the United States Fifth Circuit Court of Appeals has held that
“[i]f the facts adduced at trial point so overwhelmingly to the defendant’s guilt that even the most
competent attorney would be unlikely to have obtained an acquittal, then the defendant’s ineffective
assistance claim must fail.” Green v. Lynaugh, 868 F.2d 176 , 177 (5th Cir. 1989). If that maxim
is applicable to any case, it is surely applicable here where the evidence of petitioner’s guilt was
indeed overwhelming.

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                     affidavit, which is designed to serve as the basis of a
                     trial. La. Code Crim. P. art. 934(7).

                     It is ordinarily incumbent upon the proponent of a motion to
             move for hearing date on that motion. Otherwise, it may be
             considered that the motion has been abandoned. State v. Carter, 96-
             0337, p. 7 (La. App. 1 Cir. 11/8/96), 684 So.2d 432, 437. In our
             review of the record, the only inquiry defendant made regarding his
             motions to quash occurred after his trial and prior to sentencing.
             Accordingly, we consider his motions abandoned.
                     Moreover, defendant urges this court to apply the four-factor
             test to determine speedy trial violations enunciated in Barker v.
             Wingo, 407 U.S. 514, 531, 92 S.Ct. 2182, 2192, 33 L.Ed.2d 101
             (1972), to wit: (1) the length of the delay, (2) the reason for the
             delay, (3) the defendant’s assertion of his right to a speedy trial, and
             (4) the prejudice to the defendant. We note that the bill of
             information was filed on March 4, 2002, and defendant’s trial began
             on February 14, 2005, almost three years later. Defendant’s pro se
             motions to quash were filed on August 16, 2004, and October 28,
             2004. Assuming without deciding that this nearly three-year delay
             is presumptively prejudicial, we examine the other pertinent factors
             to determine whether a speedy trial violation has occurred. Cf. State
             v. Williams, 94-0056, pp. 4-7 (La. App. 1 Cir. 3/3/95), 652 So.2d
             586, 588-590. We note that the reason for the delay is mostly
             attributable to defendant because his attorney took a long time to
             obtain medical records, and continuances were granted at defense
             counsel’s request on February 10, 2004, March 29, 2004, June 14,
             2004, September 13, 2004, and December 16, 2004. Finally,
             defendant makes only vague allegations regarding his failing memory
             and the loss of contact with witnesses as a result of this delay. These
             vague allegations and assertions, however, lack the required
             specificity to demonstrate he suffered any prejudice.
                     Accordingly, even under the test of Barker v. Wingo, we do
             not find defendant’s constitutional right to a speedy trial has been
             violated.
                     This assignment of error is without merit.28




28
     State v. McKee, No. 2005 KA 2515, pp. 6-7; Supplemental State Rec., Vol. I of I.

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The Louisiana Supreme Court then likewise denied petitioner’s related writ application without

assigning additional reasons.29

                 Even if this claim is not procedurally barred,30 it has no merit. The United States

Fifth Circuit Court of Appeals has explained:


  29
     State v. McKee, 952 So.2d 695 (La. 2007) (No. 2006-KO-1920); Supplemental State Rec., Vol.
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   30
        The United States Fifth Circuit Court of Appeals has held:

                  A claim that a state has withheld a federal right from a person in its custody
         may not be reviewed by a federal court if the last state court to consider that claim
         expressly relied on a state ground for denial of relief that is both independent of the
         merits of the federal claim and an adequate basis for the court’s decision. To satisfy
         the “independent” and “adequate” requirements, the dismissal must “clearly and
         expressly” indicate that it rests on state grounds which bar relief, and the bar must
         be strictly or regularly followed by state courts, and applied to the majority of similar
         claims.

Finley v. Johnson, 243 F.3d 215, 218 (5th Cir. 2001) (citations omitted). “A state court expressly
and unambiguously bases its denial of relief on a state procedural default even if it alternatively
reaches the merits of a [petitioner’s] claim.” Fisher v. Texas, 169 F.3d 295, 300 (5th Cir. 1999).
When the state court denied relief based on an independent and adequate state procedural rule,
“federal habeas review is barred unless the petitioner demonstrates either cause and prejudice or that
a failure to address the claim will result in a fundamental miscarriage of justice.” Hughes v.
Johnson, 191 F.3d 607, 614 (5th Cir. 1999).
                 The state court in the instant case clearly denied petitioner’s claim on procedural
grounds, finding that the claim was abandoned because he did not set his speedy trial motions for
hearing. However, it is unclear whether the state is raising the procedural bar, in that the state
mentions the default only in passing in a mere two sentences, with no substantive discussion of
whether the state rule is independent and adequate, whether there was cause and prejudice, or
whether a fundamental miscarriage of justice would result from its application in this proceeding.
Moreover, in any event, this Court need not determine whether a claim is procedurally barred if it
is evident, as it is here, that the claim is clearly meritless. Glover v. Hargett, 56 F.3d 682, 684 (5th
Cir.1995); Wiley v. Puckett, 969 F.2d 86, 104 (5th Cir. 1992); Corzo v. Murphy, Civ. Action No.
07-7409, 2008 WL 3347394, at *1 n. 5 (E.D. La. July 30, 2008); Smith v. Travis, Civ. Action No.
08-4627, 2009 WL 1704335, at *9 & n.25 (E.D. La. June 16, 2009); Lee v. Cain, Civ. Action No.
06-9669, 2007 WL 2751210, at *9 (E.D. La. Sept. 18, 2007).


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                       The right to a speedy trial is guaranteed by the Sixth
               Amendment and applies to state criminal proceedings through the
               Fourteenth Amendment. A violation of the speedy trial right, if
               found, requires dismissal of the indictment. In Barker, the Supreme
               Court prescribed several factors to be considered when evaluating a
               speedy trial claim: (1) the length of the delay, (2) the reason for the
               delay, (3) the defendant’s assertion of his right to speedy trial, and (4)
               prejudice to the defendant. None of these factors is either necessary
               or sufficient to find a speedy trial violation; rather, they are related
               factors and must be considered together with such other
               circumstances as may be relevant. The speedy trial inquiry therefore
               involves a difficult and sensitive balancing of these factors under the
               particular circumstances of a given case.

Goodrum v. Quarterman, 547 F.3d 249, 257 (5th Cir. 2008) (citations, footnotes, quotation marks,

and brackets omitted), cert. denied, 129 S.Ct. 1612 (2009). For the following reasons, it is clear that

only the first Barker factor weighs in petitioner’s favor.

               Regarding the first factor, the length of the delay, the state court found that factor

weighed in favor of petitioner. This Court agrees. The state court assumed for the purposes of its

decision that the delay in the instant case was presumptively prejudicial. This Court will likewise

employ the same assumption.         See Goodrum, 547 F.3d at 257-58 (noting that delays of

approximately a year or more are sufficient to give rise to a presumption of prejudice).

               Regarding the second factor, the reason for the delay, the state court found that factor

weighed in favor of the state. The state court found that the reasons for the delay were mostly

attributable to the defense, a finding that petitioner has failed to persuasively rebut. “[D]elays

explained by valid reasons or attributable to the conduct of the defendant weigh in favor of the

state.” Goodrum, 547 F.3d at 258.




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                  The third factor, petitioner’s assertion of his right to speedy trial, likewise weighs in

the state’s favor. Although he filed two pro se motions asserting the right, he did not timely set

either motion for hearing as required by the state’s procedures. Therefore, as a matter of state law,

the motions were deemed abandoned. See State v. Wagster, 361 So.2d 849, 856 (La. 1978) (“[I]t

is ordinarily incumbent upon the proponent of a motion to move for a hearing date on that motion.

Otherwise it may be considered that the motion has been abandoned.”); State v. Carter, 684 So.2d

432, 437 (La. App 1st Cir. 1996). Accordingly, he never properly asserted and pursued his right to

a speedy trial.

                  Regarding the fourth and final factor, prejudice to petitioner, the state court correctly

found that petitioner had not established that he suffered such prejudice. Again, petitioner has not

persuasively rebutted that finding. As noted by the state court, petitioner offers nothing more than

vague and conclusory allegations which are clearly insufficient to constitute proof of the prejudice

required to support such a claim. See Goodrum, 547 F.3d at 262.31

                  Because the state court properly identified the Barker test as the framework for

analyzing petitioner’s speedy trial claim, this Court focuses on only the objective reasonableness

of the result of the state court’s balancing of the Barker factors under the facts in the instant case.

Goodrum, 547 F.3d at 257. For the foregoing reasons, it is evident that the state court’s rejection




  31
     The Court notes that the anxiety and concern an accused person may experience while awaiting
trial is recognized as a form of prejudice which must be considered. See Goodrum, 547 F.3d at 262-
63. However, petitioner has not alleged, much less brought forth evidence to show, that he suffered
anxiety and concern sufficient to warrant a finding a prejudice.

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of the speedy trial claim was objectively reasonable. Accordingly, the decision is entitled to

deference, and petitioner’s claim should be rejected.

                                     RECOMMENDATION

               Accordingly, IT IS RECOMMENDED that the petition of Robert Lee McKee for

federal habeas corpus relief be DISMISSED WITH PREJUDICE.

               A party’s failure to file written objections to the proposed findings, conclusions, and

recommendation in a magistrate judge’s report and recommendation within fourteen (14) days after

being served with a copy shall bar that party, except upon grounds of plain error, from attacking on

appeal the unobjected-to proposed factual findings and legal conclusions accepted by the district

court, provided that the party has been served with notice that such consequences will result from

a failure to object. 28 U.S.C. § 636(b)(1); Douglass v. United Services Auto. Ass’n, 79 F.3d 1415,

1430 (5th Cir. 1996) (en banc).32

               New Orleans, Louisiana, this thirtieth day of September, 2010.




                                                   DANIEL E. KNOWLES, III
                                                   UNITED STATES MAGISTRATE JUDGE




    32
      Douglass referenced the previously applicable ten-day period for the filing of objections.
Effective December 1, 2009, 28 U.S.C. § 636(b)(1) was amended to extend that period to fourteen
days.

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